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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
JOHN DOE,                            )
                                     )
            Plaintiff,               )
                                     )
      v.                             )
                                     )  Civil Action No. 17-cv-40151-TSH
JOHNSON & WALES UNIVERSITY,          )
                                     )
            Defendant                )
____________________________________)


                     MEMORANDUM OF LAW IN SUPPORT OF
              PLAINTIFF’S MOTION TO PROCEED UNDER PSEUDONYM


                                         I. Introduction

       This case concerns a disciplinary hearing carried out at Johnson & Wales University

(“JWU”) in response to allegations by a female student that the male student Plaintiff, John Doe,

among other things, had not discontinued sexual activity after consent was withdrawn in 2016.

       Plaintiff alleges that as a result of Defendant’s faulty investigation and hearing, the

Plaintiff was wrongly proclaimed to have committed sexual assault and was expelled from

campus. The Plaintiff vehemently denies that any sexual assault ever occurred and further

alleges that he was denied the most basic aspects of fairness and process by JWU.

       Importantly, the Plaintiff’s identify is not believed to be widely known on-campus or

outside the campus community. Given the harm that the Plaintiff has suffered already by virtue

of the nature of the charges and the determination of the University, the Plaintiff seeks to

proceed here in his complaint through use of a pseudonym so as to mitigate any further damage

to himself and his reputation.
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                                     II. Factual Background

       Plaintiff refers the Court to his complaint for a full recitation of the facts. The facts lay

out very disturbing and tragic events that occurred against John Doe at the hands of JWU. If

John Doe’s name became widely publicized it would do nothing more than add to the harm that

he has already suffered.

                                          III. Argument

       This Honorable Court has the discretion to permit a litigant to proceed under a

pseudonym in spite of the language of Fed. R. Civ. P. 10(a). See Doe v. Blue Cross & Blue

Shield of R.I. 794 F. Supp. 72, 73 (D.R.I. 1992). The Plaintiff bears the burden of establishing a

sufficient privacy interest that outweighs a presumption of openness in matters before the Court.

See Doe v. Bell Atlantic Bus. Sys., 162 F.R.D. 418, 420 (D. Mass. 1995) (“Bell Atlantic”);

MacInnis v. Cigna Gr. Ins. Co. of Am., 379 F. Supp. 89, 90 (D. Mass. 2005). Courts have

previously held that privacy interests outweigh the presumption of judicial transparency in

several cases involving sensitive matters, such as those involving mental illness, abortion, or

sexuality issues. See Bell Atlantic, 162 F.R.D. at 420.

       This case is one in which protection of the Plaintiff’s identity is necessary and

appropriate. The Plaintiff alleges substantial emotional distress, reputational damage and other

harm from the finding that he committed sexual assault. Plaintiff seeks relief for the harm to his

reputation that he has already endured and will continue to endure as this information is

disclosed to others – as it must be whenever he shares his academic transcript branded with the

words “Disciplinary Expulsion”. If Plaintiff were required to proceed in this lawsuit under his

given name, then he would expose himself to further harm by the process of seeking to vindicate

the harm he has already endured.
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       It is proper to allow a plaintiff to proceed under a pseudonym where the “injury litigated

against would be incurred as a result of the disclosure of the plaintiff’s identity.” M.M. v.

Zavares, 139 F.3d 798, 803 (10th Cir. 1998). That is precisely the situation here. If Plaintiff

were required to disclose his name, one of the primary purposes of this lawsuit would be

frustrated, a fact often cited as an overriding concern in deciding to allow a plaintiff to proceed

under a pseudonym. See, e.g., Bell Atlantic, 162 F.R.D. at 420.

       If Plaintiff’s name is made public, the harm he has already suffered will be severely

magnified as the public will know he has been accused and found by the University –

erroneously – to have committed sexual misconduct. The Defendant will not be prejudiced if

this case proceeds through use of a pseudonym. The Defendant has been made aware of the true

name of John Doe through pre-litigation communications.

                                          IV. Conclusion

       For all the reasons stated herein, the Plaintiff respectfully requests that this Honorable

Court allow him to proceed in this case under a pseudonym.

                                              Respectfully submitted,
                                              JOHN DOE,
                                              By his attorney,



                                              __/s/ James P. Ehrhard____________________
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Dated: December 18, 2018
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                               CERTIFICATE OF SERVICE

        I, James P. Ehrhard, hereby certify that I served the above Memorandum to the following
parties on today’s date via U.S. Mail postage prepaid if not noted as having received copies via
ECF:

Jeffrey S. Brenner, Esq., VIA ECF

Steven M. Richard, Esq., VIA ECF


                                                    /s/ James P. Ehrhard_____
                                                    James P. Ehrhard, Esq.


Dated: December 18, 2017
